Case 1:21-cv-01808-RDM   Document 41-148   Filed 12/13/23   Page 1 of 7




                            Exhibit 148
             FOIA 22-0178
                Case 1:21-cv-01808-RDM               Document 41-148     Filed 12/13/23        Page 2 of 7




  Wednesday, 26 October 2022


Ops Report
Date Occurred(L)            Oct 14 2007 00:50:00
Date Occurred(Z)            Jan 01 1900 00:00:00
is Closed                   TRUE
Summary                   MND-B SIGACT 2 (140144)\n(CCIR 1)\n\nMND-B EVENT 20 (140138)\n\nUNIT: 4/1 ID \n \nlED
                          TYPE: UNKNOWN\n\nKIA: 1 X US KIA\n\nWIA (W/BR#): 3 X US WIA:     I          (b)(6)      I
                            I
                            lb}l§} !n\nEQUIPMENT BOA:!            /b}/1}1 .4g ~n\nENEMY BOA: NONE\n\nENEMY
                          DETAINED: NONE\n\nSECT: UNKNOWN\n\nCREW SYSTEM:(b)(1)1.4t,\nOTHER IED DEFEAT
                          EQUIP:! (bll1l1.4g in\r1           /b}(1}1.4g                                I
                                                                                  ln\nCOMP. OF PATROL: (b}(1}1.4g     I
                            I
                           lb}l1)1 .4g ~n\nWHO: 46/A/2-121N\n\nWHAT: IED\n\nWHEN: 140050OCT07\n\nWHERE: 38SMB
                         43530 79198~ \nlNITIAL REPORT:\n0050: 46/A/2-121N WAS ON PATROL WHEN THEIR
                         ~                                                   I
                                   VEHICLE WAS STRUCK WITH AN IED ON ITS (bl(1)1.4g ! AT THE INTERSECTION OF
                          18TH AND 35TH STREET lt't~            T MB 43530 79198. THE IED STRUCK THE~
                         VEHICLE RESULTING IN 3X US WIA. BR~ !bl!6l !RECEIVED SHRAPNEL WOUNDS TO
                          LEFT LEG ABOVE THE KNEE, ONE SOLDIER RECEIVED SHRAPNEL WOUNDS TO THE
                          UPPER PART OF BOTH LEGS AND MIDSECTION, AND BR~ (b)(6) !RECEIVED
                          SCHRAPNEL TO HIS RIGHT ARM AND A FRACTURED RIGHT LEG. THEY ARE IRT CSH
                          NOW WITH THE CASUALTIES AND REQUEST CCA AND WRECKER SUPPORT. \n\n0055:
                          CCA IS ON STATION \n\n0115: EOD NOTIFIED FOR POST BLAST ANALYSIS\n\n0116:
                         WRECKER ASSETS SP FOB FALCON\n\n0119: 16/A/2-121N ARRIVES AT CSH . \n\n0145: CSH
                          REPORTED THAT 1 SM KIA IN ROUTE TO THE CSH.                    (b)(6)          ARE STABLE.
                          BRM (b)(6) !RECEIVED SCHRAPNEL TO LEFT SIDE OF GROIN, BR               (b)(6) RECEIVED
                          SCHRAPNEL TO LOWER RIGHT LEG WHICH IS FRACTURED AND SHRAPNEL TO HIS
                          RIGHT FOREARM. \n\n0235: EOD INITIAL REPORTS ARE THAT THE IED WAS PRESSURE
                          PLATE 20X LBS BULK UNKNOWN EXPLOSIVES.\n\n0242: CCA HAS BROKE STATION AND
                          WILL NOT BE RETURNING.\n\n0243: UAV IS BREAKING STATION\n\n0300: EOD AND
                          WRECKER ASSETS RP FOB FALCON\n\n0420: CSH REPORTED A THIRD US WIA
                          BR     I (b){6) 11/1/HO RECEIVED CONTUSIONS AND ABRASIONS TO BOTH LEGS. \n\n0445:
                          EOD FINAL ANALYSIS OF IED IS 1X PRESSURE WIRE WITH UNKNOWN BULK EXPLOSIVES
                         AND 1X 155MM ROUND. CRATER SIZE WAS 4FT X 4FT.\n\nSUMMARY:\n\n1 X IED
                          STRIKE\n1 X US KIA \n3 X US WIA (NSl)\n1 X DMG (1X 1151 DMG)\n\n\n//CLOSED//
Suicide Count               O
is Effective Explosive      FALSE
Hazard
Blown In Place              FALSE

Year Occurred               2007
Month Occurred              October
Day Occurred                14

Event Type                  Explosive Hazard
Event Category              IED Explosion
Event MOA                   Improvised Explosive Device (IED)
Primary Country             IRAQ


                                                                                                     Page 1 of 6
             USCENTCOM FOIA 22-0063L - 22-0362L                 000222                                 03/17/23
                 Case 1:21-cv-01808-RDM           Document 41-148   Filed 12/13/23   Page 3 of 7

Ops Report
Primary AOR              USCENTCOM
Primary Region           IRAQ
Primary RC               MND-BAGHDAD
Primary AO               30 HBCT
Primary District         Baghdad
Primary Province         Baghdad
was Suicide              FALSE
Tracking Number          20071014005038SMB4353079198
Attack On

Battlespace Lead         Coalition
Unit Activity            Mounted Patrol
Title                    (EXPLOSIVE HAZARD) IED EXPLOSION RPT (IED) A/2-12IN : 1 CF KIA 3 CF WIA
Association Count        4
BDA Friendly KIA         1
BDA Friendly WIA         3
BDA Friendly             4
Casualties
BDA Friendly ABD         0
BDA Civilian KIA         0
BDA Civilian WIA         0
BDA Civilian             0
Casualties
BDA Civilian ABD         0
BDA Host Nation KIA 0

BDA Host Nation WIA 0
BDA Host Nation          0
Casualties
BDA Host Nation          0
ABD
BDA Enemy KIA            0
BDA Enemy WIA            0
BDA Enemy                O
Casualties
BDA Enemy Detained 0

Call Sign

City                     BAGHDAD
Classification           SECRET
Classification           REL TO USA, EC¥, FIN, KWT, IRKS, ~JATO
Releasabilitv Mark

                                                                                            Page 2 of 6
             USCENTCOM FOIA 22-0063L - 22-0362L         000223                                03/17/23
                Case 1:21-cv-01808-RDM               Document 41-148   Filed 12/13/23     Page 4 of 7

Ops Report
CIONE Folder                          (b)(6)              I
                                                       LiteReportView.cfm?mod ule=operations&reporttype=sigact&re
                         portkey=9B9255D7-99E4-361 D-4869B0 11 AO?A3589&entity=report

Date Occurred Excel      14/10/2007
UK
Date Occurred Excel      10/14/2007
us
Date Posted(Z)           Oct 14 2007 01 :53:19
Date Updated(Z)          Nov 02 2007 12:24:00
FOB                      FALCON
Incident Reported By
Latitude                 33.25028610229492
Longitude               44.3937873840332
MGRS                     38SMB4353079198
MOA Count                1
Originating Network
Originating Site

Originating System       Not Provided
Originator Group         MND-BAGHDAD G3 OPS LNO
Originator Name                           (b}(6)

Originator Unit          MND-BAGHDAD
Precedence               Flash

Report Key               9B9255D7-99E4-361 D-4869B011 AO?A3589
Reporting Unit           MND-BAGHDAD G3 OPS LNO
Route
Type Of Unit             CF
Unit Name               A/2-121N

Updated By Group         DATA Management
Updated By Name                             (b)(6)

Updated By Unit          CJTF TROY
Vehicle Convoy          I
                      (b)(1)1 _49     I
Count
Vehicle Convoy      o
Speed
Vehicle Convoy      MPH
Soeed Measure
Vehicle Distance
Between
Vehicle Nearest ECM 0
To IED
Vehicle Nearest ECM 0

                                                                                                 Page 3 of 6
             USCENTCOM FOIA 22-0063L - 22-0362L               000224                               03/17/23
                   Case 1:21-cv-01808-RDM                  Document 41-148               Filed 12/13/23           Page 5 of 7

Ops Report
To Vehicle Struck
Vehicle Other
                         !(b)(1)1 .4gl
Counter Measures
Vehicle Summary           CREW SYSTEM :
                                (b)(1 )1.4g        COMP. OF PATROL:
was Complex Attack        FALSE
was Coordinated           FALSE
Attack
was Counter Attack        FALSE
was ABP Involved          FALSE
was ANA Involved          FALSE
was ANP Involved          FALSE
was ANSF Involved         FALSE
was ISAF Involved         FALSE
was INS Involved          FALSE
was Medevac               FALSE
Reauested

    SIGACT Location

    AO                  City                  Classification   Releasability          Coordinate         Country          (More not shown)

                                                                                                                          (More not shown)

                                                                                                                          (More not shown)

     30 HBCT            BAGHDAD               SECRET           REb TG l:IS,t\, EG¥,                      IRAQ             (More not shown)
                                                               Fl~I, K-WT, IRKS,
                                                               NAT(}


    CIDNE Media

    Classification      Classification     Media               Originating            Originating Site   Media Type       (More not shown)
                        Releasability Mark Attachement         Network
                                                                                                                          (More not shown)

                                                                                                                          (More not shown)

     SECRET             Rli!b +O USA, ~I!,¥ 14 0050C OCT 07                           CENTCOMROAR        Document         (More not shown)
                                            IED ATTK ON 2-12
                                            INFANTRY IN EAST
                                            RASHID

     Vehicle

    Report Key          ECM Status            ECM Type         Impact Point           Position           Status           (More not shown)

                                                                                                                          (More not shown)

                                                                                                                          (More not shown)
    9B9255O7-99E4-                                             (b)(1 )1.4g                                                (More not shown)
    361D-
    4869B011A07A3589

     Target

     Affiliation        Description           Details          Nationality            Precedence         Report Key       (More not shown)

                                                                                                                          (More not shown)




                                                                                                                        Page 4 of 6
              USCENTCOM FOIA 22-0063L - 22-0362L                   000225                                                 03/17/23
               Case 1:21-cv-01808-RDM                 Document 41-148             Filed 12/13/23      Page 6 of 7

Ops Report
                                                                                                                  (More not shown)

   Coalition                             Patrol             UNITED STATES     Primary        9B9255O7-99E4-   (More not shown)
                                                                                             3610-
                                                                                             4869B011A07A3589




   Mode Of Attack                    Mode Of Attack Key            Event Type                    Event Category
   Improvised Explosive Device (IED) 7FC56552-0BE9-40F2-A8FD-      Explosive Hazard              IED Explosion
                                     A2C7B7BFB50F

   Events1

   Event Category     Event Key          Event Type         Intended Outcome Suicide         Hit Or Miss          (More not shown)
                                                                                                                  (More not shown)

                                                                                                                  (More not shown)

   IED Explosion      OB5B376F-FF6A-     Explosive Hazard                     0              0                    (More not shown)
                      4969-BC75-
                      36B0B55E2E96




   CCIR               CCIR Details       CCIR Group         CCIR Key          CCIR Sort      CCIR Summary         (More not shown)
                                                                                                                  (More not shown)

                                                                                                                  (More not shown)

   TRUE                                  MND-BAGHDAD G3 9B9O351A-OCED- 0                     FFIR6 -ACTION OR (More not shown)
                                         OPS LNO        10B9--                               INCIDENT
                                                        49FB2AB057703A5                      RE SULTING IN
                                                        D                                    SIGNIFICANT
                                                                                             MILITARY OR
                                                                                             CIVILIAN
                                                                                             CASUALTIES

   Casualty

   Wound Arms         Status             Group              Comments          Wound Chest    Wound Feet           (More not shown)

                                                                                                                  (More not shown)

                                                                                                                  (More not shown)

   FALSE              Unknown            Unknown                              FALSE          FALSE                (More not shown)

                                                                                                                  (More not shown)

   TRUE               Unknown            Unknown                              FALSE          FALSE                (More not shown)

                                                                                                                  (More not shown)

   TRUE               Unknown            Unknown                              FALSE          FALSE                (More not shown)

                                                                                                                  (More not shown)

   FALSE              Unknown            Unknown                              FALSE          FALSE                (More not shown)


   Association

  CIONE Folder is Published  Confidence   Classification Classification   DTG Posted (More not shown)
  - - - - - - - - - - - - - - - - - - - - - - - - - - -Releasability Mark _____________
                                                                                                                  (More not shown)

                                                                                                                  (More not shown)
   Link to Analysis                      Confirmed          SECRET            NOFORN         Feb 04 2008          (More not shown)
   CIONE                                                                                     09:00:00
    Report




                                                                                                                 Page 5 of 6
           USCENTCOM FOIA 22-0063L - 22- 0362L                  000226                                            03/17/23
                  Case 1:21-cv-01808-RDM             Document 41-148          Filed 12/13/23          Page 7 of 7

Ops Report
                                                                                                                   (More not shown)
     Link to Analysis                    Confirmed       SECRET            REb TO US.'\, F\lEY Dec 05 2014         (More not shown)
     CIONE                                                                                     17:57:08
      Report

                                                                                                                   (More not shown)
     Link to exploitation                Confirmed       SECRET                               Jul 09 2009 11 :30:44(More not shown)
     CIONE
      Report

                                                                                                                   (More not shown)
     Link to exploitation                Confirmed       SECRET            NGNE               Oct 14 2007          (More not shown)
     CIONE                                                                                    05:34:23
      Report
                                                                                                            4 Empty Attributes
                                                ISAF Tracking Number, Originating Nation, Reintegratees Count, Tip Reported By
                                                                                                              13 Empty Tables
    Associated Org, Chemicals Found, Drugs Found, Equipment Found, Events Subordinate, IDF Details, Ops Capture, SIGACT Item,
                                                SIGACT Method Found, SIGACT Remark, SIGACT Requirements, Suspect, Units

Relationships
(None)



Attachments
(None)




                                                                                                                Page 6 of 6
             USCENTCOM FOIA 22-0063L - 22- 0362L             000227                                                03/17/23
